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                                            Friday, 14 June, 2019 12:16:17 PM
                                                 Clerk, U.S. District Court, ILCD




                            s/Justin Fitzgerald




                        s/Jonathan E Hawley
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                                 s/Justin Fitzgerald




s/Jonathan E Hawley
